                     Case 1:19-cv-02399-RDM CLERK=S
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                                                    OFFICE                                                               CO-932
                                                UNITED STATES DISTRICT COURT                                             Rev. 4/96
                                                FOR THE DISTRICT OF COLUMBIA

                               NOTICE OF DESIGNATION OF RELATED CIVIL CASES PENDING
                                    IN THIS OR ANY OTHER UNITED STATES COURT

                                                                                                     Civil Action No. __________
                                                                                                                      19-2399
                                                                                                     (To be supplied by the Clerk)

NOTICE TO PARTIES:

          Pursuant to Rule 40.5(b)(2), you are required to prepare and submit this form at the time of filing any civil action which is
related to any pending cases or which involves the same parties and relates to the same subject matter of any dismissed related cases.
This form must be prepared in sufficient quantity to provide one copy for the Clerk=s records, one copy for the Judge to whom the
cases is assigned and one copy for each defendant, so that you must prepare 3 copies for a one defendant case, 4 copies for a two
defendant case, etc.

NOTICE TO DEFENDANT:

        Rule 40.5(b)(2) of this Court requires that you serve upon the plaintiff and file with your first responsive pleading or motion
any objection you have to the related case designation.

NOTICE TO ALL COUNSEL

          Rule 40.5(b)(3) of this Court requires that as soon as an attorney for a party becomes aware of the existence of a related case
or cases, such attorney shall immediately notify, in writing, the Judges on whose calendars the cases appear and shall serve such notice
on counsel for all other parties.
                                                            _______________

The plaintiff , defendant or counsel must complete the following:

I.       RELATIONSHIP OF NEW CASE TO PENDING RELATED CASE(S).

         A new case is deemed related to a case pending in this or another U.S. Court if the new case: [Check appropriate box(e=s)
         below.]                                                                                         NOTE:
                                                                                         Plaintiff takes no position on relatedness and
                     (a)       relates to common property                                defers to the Court's assessment concerning the
                                                                                         following two cases:
                     (b)      involves common issues of fact
                                                                                         (1) Plaintiff's prior counsel, in that capacity, filed
                                                                                         Case No. 18-CV-1389 under the Freedom of
                     (c)      grows out of the same event or transaction                 Information Act, seeking records concerning the
                                                                                         subject matter of Plaintiff's present suit.
                     (d)      involves the validity or infringement of the same patent
                                                                                         (2) A different former FBI employee filed Case
                     (e)      is filed by the same pro se litigant                       No. 19-CV-2367 against the same defendants,
                                                                                         covering a similar timeframe, and alleging similar
                                                                                         unconstitutional motives for a similar adverse
2.      RELATIONSHIP OF NEW CASE TO DISMISSED RELATED CASE(ES)
                                                                                         action as alleged in Plaintiff's present suit.
         A new case is deemed related to a case dismissed, with or without prejudice, in this or any other U.S. Court, if the new case
         involves the same parties and same subject matter.

         Check box if new case is related to a dismissed case:

3.       NAME THE UNITED STATES COURT IN WHICH THE RELATED CASE IS FILED (IF OTHER THAN THIS
         COURT):


4.       CAPTION AND CASE NUMBER OF RELATED CASE(E=S). IF MORE ROOM IS NEED PLEASE USE OTHER SIDE.
          N/A - See boxed note above                        v.                                                     C.A. No.

          August 8, 2019                       /s/ Murad Hussain
         DATE                                Signature of Plaintiff /Defendant (or counsel)
